Case 2:19-cv-01682-AJS Document 17-4 Filed 07/23/20 Page 1 of 3




                       EXHIBIT C
             Case 2:19-cv-01682-AJS Document 17-4 Filed 07/23/20 Page 2 of 3

                          Case 2:19-cv-01682-AJS                            Document 6 Filed 01/14/20 Page 1 of 2


                                Case 2:19-cv-01682-AJS                        Document 2 Filed 12/3J./19              Page 1 of 2


        /\0 440 (llcv. 06/12) Su!l11>101ts iu n Civil /\oliou


                                                    UNITED STATES DISTRICT COURT
                                                                                      for the
                                                                      Western District of Pennsylvania

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                              Sadis & Goldbei-g, LLP                                    )
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                                                                                        )
                                              v.                                                 Civil Action No.   .19-1682
                                                                                        )
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                                                                                        )
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       ,,___________ Al<shita Banerjee_ and Su manta_ Banerjee........                  )
                                     D,!(endo.111(.r)                                   )

                                                                     SUMMONS JN A CIVIL ACTION

        To: (Dr,jimdanl '.r name? and addre.,·J)


                                                          Al<shita Banerjee
                                                          1514 Cool, School Road
                                                          Pittsburgh, PA 15241


                   A lawsuit has been filed against you.

                 Within 21 days after service of this summons on you (not counting the day you received it)·-- or 60 clays if you
       are the United States or a United Stat-es agency, or an officer or employee of the United States described in Feel. R. Civ.
       P. J 2 (a)(2) or (3) -- you must serve on the plaintiff an answer lo the attached complaint or a motion t1ncler Rlllc 12 of
       the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
       whose name and address are:
                                                          Meyer, Unkovic & Scott
                                                          Katelin J. Montgomery
                                                          535 Smit11field Street, Suite 1'.,00
                                                          Pittsburgh, PA 15222

              If you fail to respond, judgment by dcfaull will be entered against you for the relief demanded in the complaint.
       You also must file your answer 01· motion with the court.



                                                                                                    CLERK OF COURT



12/31/2019
Date                                                                                               Signature of Clerk or Deputy Clerk
      Case 2:19-cv-01682-AJS Document 17-4 Filed 07/23/20 Page 3 of 3

                 Case 2:19-cv-01682-AJS Document 6 Filed 01/14/20 Page 2 of 2


                         Case 2:19··CV-01682··AJS Document 2 Filed 12/31/19 Page 2 of 2


AO 440 (Rev. Oi,/12) Summons ill n Civil Actio11 (Page 2)
                                                       c=========
 Civil Action No.

                                                                          PROOF OF SERVJCE
                         (!Yi.is section should not be filed H'ith the co11rt unless required by Fed. R. CiP. .P. 4 (L))

           This summons for                (name o(i11divid11al and title, {!any)           ...   J:\\<;:,::;2.\·~\.lk....1~).;?"(\.'2,.'.t:j. G.\:/............................ .
was received by me on (date)                    ___ \ .. .1~'J..O.. _.. _............,...


           is/1 personally served the summons on the individual at                                        (pfoce)              'i\i--\1W!'ci},'.\ ili:l"o . h\ll"' _ \oe",x:1,;;. c,_,+· ............
          j.5'J.•:L(~_Q0..K..2:\~~.\.:iro.LR,L /...\:'...1:1b.h1.ir£),,           (}1. I <;:;i. '/__)_                   on (dale) .\.::19.:. uD.@... :11L\.tlV!1,·; OJ'
           0 I le.ft the summons at the individual's residence or 1.1su11J place of abode with (name)
                                                                                   , a person of suitable age and discretion who resides tbern,
           on   (dole)                                        , and mailed a copy to the individual's last known address; or

           0 I served 1hc summons                   on (name ,ifindivid,wl)                                                                                                                                                                   , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                                                         on (data)                                                                                   ; or

           0    r returned the summons                 unexecutecl because                                                                                                                                                                                ; or

           0 Other        (.11.iec/fj1,'




           My fees are$                                      for travel and$                                                   for services, for n total of$                                                                         0.00




Date:


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Additional. information regarding attempted service, etc:
